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                                                             APPEAL,CLOSED,JURY,TYPE−E
                                  U.S. District Court
                       District of Columbia (Washington, DC)
                 CIVIL DOCKET FOR CASE #: 1:20−cv−02070−TSC
                                   Internal Use Only

O'CONNOR et al v. US CELLULAR CORPORATION et al        Date Filed: 07/30/2020
Assigned to: Judge Tanya S. Chutkan                    Date Terminated: 03/15/2023
Case in other court: Oklahoma Western, 5:15−cv−00510   Jury Demand: Plaintiff
Cause: 31:3729 False Claims Act                        Nature of Suit: 375 False Claims Act
                                                       Jurisdiction: Federal Question
Plaintiff
MARK J O'CONNOR                            represented by Adriaen M. Morse , Jr.
United States of America ex rel                           ARNALL GOLDEN GREGORY LLP
                                                          1775 Pennylvania Avenue
                                                          Suite 1000
                                                          Washington, DC 20006
                                                          202−677−4058
                                                          Email: amorse@secillaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Benjamin James Vernia
                                                       THE VERNIA LAW FIRM
                                                       1455 Pennsylvania Avenue, NW
                                                       Suite 400
                                                       Washington, DC 20004
                                                       (202) 349−4053
                                                       Email: bvernia@vernialaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       John P. Rowley , III
                                                       JPROWLEY LAW PLLC
                                                       8639 Chase Glen Circle
                                                       Fairfax Station, DC 22039
                                                       (703) 402−8800
                                                       Email: john.rowley@jprowleylaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Georgina C. Shepard
                                                       ARNALL GOLDEN GREGORY LLP
                                                       1775 Pennsylvania Avenue NW
                                                       Suite 1000
                                                       Washington, DC 20006
                                                       202−677−4902
                                                       Fax: 202−677−4903
                                                       Email: georgina.shepard@hklaw.com


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       Case 1:20-cv-02070-TSC Document 193 Filed 04/07/23 Page 2 of 36


                                                  TERMINATED: 03/08/2022
                                                  PRO HAC VICE

                                                  Micah Kanters
                                                  ARNALL GOLDEN GREGORY
                                                  1775 Pennsylvania Ave NW
                                                  Suite 1000
                                                  Washington, DC 20006
                                                  202−677−4920
                                                  Email: micah.kanters@agg.com
                                                  TERMINATED: 04/29/2022

                                                  Sara M. Lord
                                                  ARNALL GOLDEN GREGORY LLP
                                                  1775 Pennsylvania Avenue, NW
                                                  Suite 1000
                                                  Washington, DC 20006
                                                  (202) 677−4054
                                                  Fax: (202) 667−4055
                                                  Email: sara.lord@agg.com
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

Plaintiff
SARA F LEIBMAN                        represented by Adriaen M. Morse , Jr.
United States of America ex rel                      (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                  Benjamin James Vernia
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  John P. Rowley , III
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Georgina C. Shepard
                                                  (See above for address)
                                                  TERMINATED: 03/08/2022
                                                  PRO HAC VICE

                                                  Micah Kanters
                                                  (See above for address)
                                                  TERMINATED: 04/29/2022

                                                  Sara M. Lord
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

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V.
Defendant
US CELLULAR CORPORATION             represented by Frank Robert Volpe
                                                   SIDLEY AUSTIN LLP
                                                   1501 K Street, NW
                                                   Washington, DC 20005
                                                   (202) 736−8366
                                                   Fax: (202) 736−8711
                                                   Email: fvolpe@sidley.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                 Gabriel Schonfeld
                                                 SIDLEY AUSTIN LLP
                                                 1501 K Street, NW
                                                 Washington, DC 20005
                                                 202−736−8483
                                                 Fax: 202−736−8711
                                                 Email: gschonfeld@gmail.com
                                                 TERMINATED: 03/22/2023
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Robert Joseph Conlan , Jr.
                                                 SIDLEY AUSTIN LLP
                                                 1501 K Street, NW
                                                 Washington, DC 20005
                                                 202−736−8560
                                                 Email: rconlan@sidley.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Benjamin M. Mundel
                                                 SIDLEY AUSTIN LLP
                                                 1501 K Street, NW
                                                 Washington, DC 20005
                                                 (202) 736−8157
                                                 Fax: (202) 736−8711
                                                 Email: bmundel@sidley.com
                                                 ATTORNEY TO BE NOTICED

                                                 David Marshall Schilling
                                                 SIDLEY AUSTIN LLP
                                                 1501 K Street, NW
                                                 Washington, DC 20005
                                                 202−736−8946
                                                 Fax: 202−736−8711
                                                 Email: dschilling@sidley.com
                                                 TERMINATED: 11/19/2021


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     Case 1:20-cv-02070-TSC Document 193 Filed 04/07/23 Page 4 of 36


                                                Lucas Croslow
                                                SIDLEY AUSTIN LLP
                                                1501 K Street NW
                                                Washington, DC 20005
                                                202−736−8643
                                                Email: lcroslow@oag.state.va.us
                                                TERMINATED: 09/25/2020

Defendant
USCC WIRELESS INVESTMENT,           represented by Frank Robert Volpe
INC.                                               (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Gabriel Schonfeld
                                                (See above for address)
                                                TERMINATED: 03/22/2023
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Robert Joseph Conlan , Jr.
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Benjamin M. Mundel
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                David Marshall Schilling
                                                (See above for address)
                                                TERMINATED: 11/19/2021

                                                Lucas Croslow
                                                (See above for address)
                                                TERMINATED: 09/25/2020

Defendant
TELEPHONE AND DATA                  represented by Frank Robert Volpe
SYSTEMS, INC.                                      (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Gabriel Schonfeld
                                                (See above for address)
                                                TERMINATED: 03/22/2023
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Robert Joseph Conlan , Jr.
                                                (See above for address)


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                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Benjamin M. Mundel
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  David Marshall Schilling
                                                  (See above for address)
                                                  TERMINATED: 11/19/2021

                                                  Lucas Croslow
                                                  (See above for address)
                                                  TERMINATED: 09/25/2020

Defendant
KING STREET WIRELESS, L.P.          represented by Andrew Santo Tulumello
                                                   WEIL, GOTSHAL & MANGES LLP
                                                   2001 M Street, NW
                                                   Suite 600
                                                   Washington, DC 20036−5306
                                                   202−682−7000
                                                   Email: drew.tulumello@weil.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                  Chantale Fiebig
                                                  WEIL, GOTSHAL & MANGES LLP
                                                  2001 M Street, NW
                                                  Suite 600
                                                  Washington DC, DC 20036
                                                  202−682−7000
                                                  Fax: 202−857−0940
                                                  Email: Chantale.Fiebig@weil.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Stuart F. Delery
                                                  GIBSON, DUNN & CRUTCHER, LLP
                                                  1050 Connecticut Avenue, NW
                                                  Suite 300
                                                  Washington, DC 20036−5306
                                                  (202) 887−3650
                                                  Fax: (202) 663−6363
                                                  Email: SDelery@gibsondunn.com
                                                  TERMINATED: 12/30/2020

Defendant
KING STREET INC                     represented by Andrew Santo Tulumello
                                                   (See above for address)
                                                   LEAD ATTORNEY


                                                                                    5
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                                                  ATTORNEY TO BE NOTICED

                                                  Chantale Fiebig
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Stuart F. Delery
                                                  (See above for address)
                                                  TERMINATED: 12/30/2020

Defendant
ADVANTAGE SPECTRUM LP               represented by David Bitkower
                                                   JENNER & BLOCK LLP
                                                   1099 New York Avenue, NW
                                                   Suite 900
                                                   Washington, DC 20001
                                                   202−639−6048
                                                   Email: dbitkower@jenner.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                  David W. DeBruin
                                                  JENNER & BLOCK LLP
                                                  1099 New York Avenue, NW
                                                  Suite 900
                                                  Washington, DC 20001
                                                  (202) 639−6015
                                                  Fax: (202) 639−6066
                                                  Email: ddebruin@jenner.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Daniel Weiss
                                                  JENNER & BLOCK
                                                  353 N. Clark Street
                                                  Chicago, IL 60654
                                                  312−923−4517
                                                  Email: dweiss@jenner.com
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

Defendant
FREQUENCY ADVANTAGE LP

Defendant
NONESUCH INC                        represented by David Bitkower
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED


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                                                    David W. DeBruin
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Daniel Weiss
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

Defendant
WILLIAM VAIL
TERMINATED: 04/24/2020

Defendant
ALLISON CRYOR DINARDO                represented by Andrew Santo Tulumello
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Chantale Fiebig
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Stuart F. Delery
                                                    (See above for address)
                                                    TERMINATED: 12/30/2020

Defendant
SUNSHINE SPECTRUM, INC.              represented by David W. DeBruin
202.639.6048                                        (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED


V.
Interested Party
UNITED STATES OF AMERICA             represented by Darrell C. Valdez
                                                    DOJ−USAO
                                                    Patrick Henry Building
                                                    601 D Street, N.W.
                                                    Washington, DC 20530
                                                    (202) 252−2507
                                                    Email: darrell.valdez@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED


 Date Filed        #   Docket Text

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    Case 1:20-cv-02070-TSC Document 193 Filed 04/07/23 Page 8 of 36



05/11/2015    2   COMPLAINT against Advantage Spectrum LP, Allison Cryor DiNardo, Frequency
                  Advantage LP, King Street Inc, King Street Wireless LP, Nonesuch Inc, Telephone
                  and Data Systems Inc, US Cellular Corporation, USCC Wireless Investment Inc,
                  William Vail filed by Sara F Leibman, Mark J O'Connor. (Attachments: # 1 Civil
                  Cover Sheet)(kw) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  05/11/2015)
11/08/2019   43   ORDER granting 42 Notice of Election by the United States to Decline Intervention
                  and Motion to Maintain the Seal Until Further Motion. Signed by Honorable Timothy
                  D. DeGiusti on 11/8/19. (kmt) [Transferred from Oklahoma Western on 7/30/2020.]
                  (Entered: 11/08/2019)
12/04/2019   44   SEALED MOTION by United States of America (kmt) Unsealed per 45 Order filed
                  12/5/2019 (kmt). [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  12/04/2019)
12/05/2019   45   ORDER Lifting Seal 44 Sealed Motion. Signed by Honorable Timothy D. DeGiusti
                  on 12/5/2019. (mb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  12/05/2019)
12/26/2019   46   ORDER REASSIGNING CASE. Case reassigned to Honorable Jodi W. Dishman for
                  all further proceedings. Honorable Timothy D. DeGiusti no longer assigned to case.
                  Signed by Honorable Timothy D. DeGiusti on 12/26/2019. (mb) [Transferred from
                  Oklahoma Western on 7/30/2020.] (Entered: 12/26/2019)
01/30/2020   47   NOTICE FROM THE COURT. Available on the website for the United States
                  District Court for the Western District of Oklahoma, under "Rules & Procedures,
                  Chambers Rules," are the following that are applicable in civil cases in front of Judge
                  Dishman: (1) Chamber Procedures for Civil Cases (issued 1−28−2020) and (2) Civil
                  Cases: Guidelines for Protective Orders on Confidentiality, Sealing Documents, and
                  Redactions (issued 1−29−2020). Parties are expected to comply with these rules for
                  all filings and proceedings going forward. The Court intends to strike filings that fail
                  to comply with these rules. (nv) [Transferred from Oklahoma Western on 7/30/2020.]
                  (Entered: 01/30/2020)
02/25/2020   48   Summons Issued Electronically as to Advantage Spectrum LP, Allison Cryor
                  DiNardo, Frequency Advantage LP, King Street Inc, King Street Wireless LP,
                  Nonesuch Inc, Telephone and Data Systems Inc, US Cellular Corporation, USCC
                  Wireless Investment Inc, William Vail. (em) [Transferred from Oklahoma Western on
                  7/30/2020.] (Entered: 02/25/2020)
03/02/2020   49   Summons Issued Electronically as to Nonesuch Inc (Amended). (ank) [Transferred
                  from Oklahoma Western on 7/30/2020.] (Entered: 03/02/2020)
03/12/2020   50   WAIVER OF SERVICE Returned Executed by Defendant Advantage Spectrum LP.
                  Advantage Spectrum LP waiver sent on 2/27/2020, answer due 4/27/2020. (Behenna,
                  Vicki) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 03/12/2020)
03/12/2020   51   WAIVER OF SERVICE Returned Executed by Defendant Allison Cryor DiNardo.
                  Allison Cryor DiNardo waiver sent on 2/27/2020, answer due 4/27/2020. (Behenna,
                  Vicki) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 03/12/2020)
03/12/2020   52   WAIVER OF SERVICE Returned Executed by Defendant King Street Inc. King
                  Street Inc waiver sent on 2/27/2020, answer due 4/27/2020. (Behenna, Vicki)
                  [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 03/12/2020)


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03/12/2020   53   WAIVER OF SERVICE Returned Executed by Defendant King Street Wireless LP.
                  King Street Wireless LP waiver sent on 2/27/2020, answer due 4/27/2020. (Behenna,
                  Vicki) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 03/12/2020)
03/12/2020   54   WAIVER OF SERVICE Returned Executed by Defendant Nonesuch Inc. Nonesuch
                  Inc waiver sent on 3/2/2020, answer due 5/1/2020. (Behenna, Vicki) [Transferred
                  from Oklahoma Western on 7/30/2020.] (Entered: 03/12/2020)
03/12/2020   55   WAIVER OF SERVICE Returned Executed by Defendant Telephone and Data
                  Systems Inc. Telephone and Data Systems Inc waiver sent on 2/27/2020, answer due
                  4/27/2020. (Behenna, Vicki) [Transferred from Oklahoma Western on 7/30/2020.]
                  (Entered: 03/12/2020)
03/12/2020   56   WAIVER OF SERVICE Returned Executed by Defendant US Cellular Corporation.
                  US Cellular Corporation waiver sent on 2/27/2020, answer due 4/27/2020. (Behenna,
                  Vicki) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 03/12/2020)
03/12/2020   57   WAIVER OF SERVICE Returned Executed by Defendant USCC Wireless
                  Investment Inc. USCC Wireless Investment Inc waiver sent on 2/27/2020, answer due
                  4/27/2020. (Behenna, Vicki) [Transferred from Oklahoma Western on 7/30/2020.]
                  (Entered: 03/12/2020)
03/12/2020   58   WAIVER OF SERVICE Returned Executed by Defendant William Vail. William
                  Vail waiver sent on 2/27/2020, answer due 4/27/2020. (Behenna, Vicki) [Transferred
                  from Oklahoma Western on 7/30/2020.] (Entered: 03/12/2020)
03/25/2020   59   MOTION to Dismiss William Vail Without Prejudice by Sara F Leibman, Mark J
                  O'Connor. (Behenna, Vicki) [Transferred from Oklahoma Western on 7/30/2020.]
                  (Entered: 03/25/2020)
04/08/2020   60   ENTRY of Appearance by Daniel G Webber, Jr on behalf of Telephone and Data
                  Systems Inc, US Cellular Corporation, USCC Wireless Investment Inc (Webber,
                  Daniel) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 04/08/2020)
04/08/2020   61   ENTRY of Appearance by Chance L Pearson on behalf of Telephone and Data
                  Systems Inc, US Cellular Corporation, USCC Wireless Investment Inc (Pearson,
                  Chance) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 04/08/2020)
04/09/2020   62   ENTRY of Appearance by Samuel R Fulkerson on behalf of Advantage Spectrum LP,
                  Nonesuch Inc, William Vail (Fulkerson, Samuel) [Transferred from Oklahoma
                  Western on 7/30/2020.] (Entered: 04/09/2020)
04/09/2020   63   ENTRY of Appearance by Andre B Caldwell on behalf of Advantage Spectrum LP,
                  Nonesuch Inc, William Vail (Caldwell, Andre) [Transferred from Oklahoma Western
                  on 7/30/2020.] (Entered: 04/09/2020)
04/09/2020   64   ENTRY of Appearance by Michael K Avery on behalf of Allison Cryor DiNardo,
                  King Street Inc, King Street Wireless LP (Avery, Michael) [Transferred from
                  Oklahoma Western on 7/30/2020.] (Entered: 04/09/2020)
04/09/2020   65   DISCLOSURE STATEMENT − CORPORATE by King Street Inc . (Avery,
                  Michael) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 04/09/2020)
04/09/2020   66   DISCLOSURE STATEMENT − CORPORATE by King Street Wireless LP . (Avery,
                  Michael) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 04/09/2020)
04/09/2020   67

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                  JOINT MOTION for Extension of Time Deadlines for Responsive Pleadings and
                  Motions by Allison Cryor DiNardo, King Street Inc, King Street Wireless LP. (Avery,
                  Michael) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 04/09/2020)
04/15/2020   68   ORDER OF RECUSAL. Honorable Jodi W. Dishman recused. Signed by Honorable
                  Jodi W. Dishman on 04/15/2020. (nv) [Transferred from Oklahoma Western on
                  7/30/2020.] (Entered: 04/15/2020)
04/15/2020   69   ENTER ORDER REASSIGNING CASE. Case reassigned to the Honorable
                  Charles Goodwin for all further proceedings. Entered at the direction of the Honorable
                  Jodi W. Dishman on 04/15/2020. (nv) [Transferred from Oklahoma Western on
                  7/30/2020.] (Entered: 04/15/2020)
04/15/2020   70   MOTION for Leave to Appear Pro Hac Vice for David Bitkower Filing fee $ 50,
                  receipt number 1087−3137878 by Advantage Spectrum LP, Nonesuch Inc, William
                  Vail. (Attachments: # 1 Exhibit 1 − Request for Admission Bitkower)(Fulkerson,
                  Samuel) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 04/15/2020)
04/15/2020   71   MOTION for Leave to Appear Pro Hac Vice for Elizabeth Edmondson Filing fee $
                  50, receipt number 1087−3137895 by Advantage Spectrum LP, Nonesuch Inc,
                  William Vail. (Attachments: # 1 Exhibit 1 − Request for Admission
                  Edmondson)(Fulkerson, Samuel) [Transferred from Oklahoma Western on
                  7/30/2020.] (Entered: 04/15/2020)
04/15/2020   72   ORDER granting 70 Motion to Appear Pro Hac Vice. Mr. Bitkower shall register to
                  file documents electronically in this district, see LCvR 83.2(g), on or before April 29,
                  2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                  form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                  04/15/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  04/15/2020)
04/15/2020   73   ORDER granting 71 Motion to Appear Pro Hac Vice. Ms. Edmondson shall register
                  to file documents electronically in this district, see LCvR 83.2(g), on or before April
                  29, 2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on
                  the form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin
                  on 04/15/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  04/15/2020)
04/16/2020   74   ENTRY of Appearance by David Bitkower on behalf of Advantage Spectrum LP,
                  Nonesuch Inc, William Vail (Bitkower, David) [Transferred from Oklahoma Western
                  on 7/30/2020.] (Entered: 04/16/2020)
04/16/2020   75   ENTRY of Appearance by Elizabeth A Edmondson on behalf of Advantage Spectrum
                  LP, Nonesuch Inc, William Vail (Edmondson, Elizabeth) [Transferred from
                  Oklahoma Western on 7/30/2020.] (Entered: 04/16/2020)
04/16/2020   76   ORDER granting in part and denying in part 67 Motion for Extension of Time as set
                  forth herein. Signed by Honorable Charles Goodwin on 04/16/2020. (jb) [Transferred
                  from Oklahoma Western on 7/30/2020.] (Entered: 04/16/2020)
04/22/2020   77   MOTION for Leave to Appear Pro Hac Vice for Stuart F. Delery Filing fee $ 50,
                  receipt number 1087−3141854 by Allison Cryor DiNardo, King Street Inc, King
                  Street Wireless LP. (Attachments: # 1 Exhibit 1 − Delery PHV Request)(Avery,
                  Michael) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 04/22/2020)
04/22/2020   78

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                  MOTION for Leave to Appear Pro Hac Vice for Andrew S. Tulumello Filing fee $ 50,
                  receipt number 1087−3141862 by Allison Cryor DiNardo, King Street Inc, King
                  Street Wireless LP. (Attachments: # 1 Exhibit 1 − Tulumello PHV Request)(Avery,
                  Michael) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 04/22/2020)
04/22/2020   79   DISCLOSURE STATEMENT − CORPORATE by Telephone and Data Systems Inc .
                  (Webber, Daniel) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  04/22/2020)
04/22/2020   80   DISCLOSURE STATEMENT − CORPORATE by USCC Wireless Investment Inc .
                  (Webber, Daniel) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  04/22/2020)
04/22/2020   81   DISCLOSURE STATEMENT − CORPORATE by US Cellular Corporation .
                  (Webber, Daniel) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  04/22/2020)
04/22/2020   82   NOTICE (other) by United States of America re 59 MOTION to Dismiss William Vail
                  Without Prejudice − United States' Notice of Consent to Dismissal of Defendant
                  William Vail (Gallegos, Ronald) [Transferred from Oklahoma Western on 7/30/2020.]
                  (Entered: 04/22/2020)
04/24/2020   83   ORDER granting 77 Motion to Appear Pro Hac Vice. Mr. Delery shall register to file
                  documents electronically in this district, see LCvR 83.2(g), on or before May 8, 2020,
                  and shall file an entry of appearance, see id. R. 83.4, by that same date on the form
                  prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                  04/24/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  04/24/2020)
04/24/2020   84   ORDER granting 78 Motion to Appear Pro Hac Vice. Mr. Tulumello shall register to
                  file documents electronically in this district, see LCvR 83.2(g), on or before May 8,
                  2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                  form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                  04/24/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  04/24/2020)
04/24/2020   85   ORDER granting 59 MOTION to Dismiss William Vail Without Prejudice filed by
                  Sara F Leibman, Mark J O'Connor. William Vail terminated. Signed by Honorable
                  Charles Goodwin on 04/24/2020. (jb) [Transferred from Oklahoma Western on
                  7/30/2020.] (Entered: 04/24/2020)
05/01/2020   86   ENTRY of Appearance by Stuart F Delery on behalf of Allison Cryor DiNardo, King
                  Street Inc, King Street Wireless LP (Delery, Stuart) [Transferred from Oklahoma
                  Western on 7/30/2020.] (Entered: 05/01/2020)
05/01/2020   87   ENTRY of Appearance by Andrew S Tulumello on behalf of Allison Cryor DiNardo,
                  King Street Inc, King Street Wireless LP (Tulumello, Andrew) [Transferred from
                  Oklahoma Western on 7/30/2020.] (Entered: 05/01/2020)
05/12/2020   88   MOTION for Leave to Appear Pro Hac Vice on Behalf of Robert J. Conlan Filing fee
                  $ 50, receipt number 1087−3152681 by Telephone and Data Systems Inc, US Cellular
                  Corporation, USCC Wireless Investment Inc. (Attachments: # 1 Exhibit 1−Conlan
                  Request for Admission)(Webber, Daniel) [Transferred from Oklahoma Western on
                  7/30/2020.] (Entered: 05/12/2020)
05/12/2020   89

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                  MOTION for Leave to Appear Pro Hac Vice on Behalf of Lucas W. E. Croslow Filing
                  fee $ 50, receipt number 1087−3152694 by Telephone and Data Systems Inc, US
                  Cellular Corporation, USCC Wireless Investment Inc. (Attachments: # 1 Exhibit
                  1−Croslow Request for Admission)(Webber, Daniel) [Transferred from Oklahoma
                  Western on 7/30/2020.] (Entered: 05/12/2020)
05/12/2020   90   MOTION for Leave to Appear Pro Hac Vice on Behalf of Benjamin M. Mundel Filing
                  fee $ 50, receipt number 1087−3152702 by Telephone and Data Systems Inc, US
                  Cellular Corporation, USCC Wireless Investment Inc. (Attachments: # 1 Exhibit
                  1−Mundel Request for Admission)(Webber, Daniel) [Transferred from Oklahoma
                  Western on 7/30/2020.] (Entered: 05/12/2020)
05/12/2020   91   MOTION for Leave to Appear Pro Hac Vice on Behalf of David M. Schilling Filing
                  fee $ 50, receipt number 1087−3152711 by Telephone and Data Systems Inc, US
                  Cellular Corporation, USCC Wireless Investment Inc. (Attachments: # 1 Exhibit
                  1−Schilling Request for Admission)(Webber, Daniel) [Transferred from Oklahoma
                  Western on 7/30/2020.] (Entered: 05/12/2020)
05/12/2020   92   MOTION for Leave to Appear Pro Hac Vice on Behalf of Frank R. Volpe Filing fee $
                  50, receipt number 1087−3152720 by Telephone and Data Systems Inc, US Cellular
                  Corporation, USCC Wireless Investment Inc. (Attachments: # 1 Exhibit 1−Volpe
                  Request for Admission)(Webber, Daniel) [Transferred from Oklahoma Western on
                  7/30/2020.] (Entered: 05/12/2020)
05/13/2020   93   ORDER granting 89 Motion to Appear Pro Hac Vice. Mr. Croslow shall register to
                  file documents electronically in this district, see LCvR 83.2(g), on or before May 27,
                  2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                  form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                  05/13/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  05/13/2020)
05/13/2020   94   ORDER granting 90 Motion to Appear Pro Hac Vice. Mr. Mundel shall register to file
                  documents electronically in this district, see LCvR 83.2(g), on or before May 27,
                  2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                  form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                  05/13/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  05/13/2020)
05/13/2020   95   ORDER granting 91 Motion to Appear Pro Hac Vice. Mr. Schilling shall register to
                  file documents electronically in this district, see LCvR 83.2(g), on or before May 27,
                  2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                  form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                  05/13/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  05/13/2020)
05/13/2020   96   ORDER granting 88 Motion to Appear Pro Hac Vice. Mr. Conlan shall register to file
                  documents electronically in this district, see LCvR 83.2(g), on or before May 27,
                  2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                  form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                  05/13/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                  05/13/2020)
05/13/2020   97   ORDER granting 92 Motion to Appear Pro Hac Vice. Mr. Volpe shall register to file
                  documents electronically in this district, see LCvR 83.2(g), on or before May 27,
                  2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the

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                   form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                   05/13/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                   05/13/2020)
05/14/2020    98   ENTRY of Appearance by Robert J Conlan on behalf of Telephone and Data Systems
                   Inc, US Cellular Corporation, USCC Wireless Investment Inc (Conlan, Robert)
                   [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 05/14/2020)
05/19/2020    99   ENTRY of Appearance by Lucas Croslow on behalf of Telephone and Data Systems
                   Inc, US Cellular Corporation, USCC Wireless Investment Inc (Croslow, Lucas)
                   [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 05/19/2020)
05/19/2020   100   ENTRY of Appearance by Frank R Volpe on behalf of Telephone and Data Systems
                   Inc, US Cellular Corporation, USCC Wireless Investment Inc (Volpe, Frank)
                   [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 05/19/2020)
05/19/2020   101   ENTRY of Appearance by David M Schilling on behalf of Telephone and Data
                   Systems Inc, US Cellular Corporation, USCC Wireless Investment Inc (Schilling,
                   David) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 05/19/2020)
05/20/2020   102   ENTRY of Appearance by Benjamin M Mundel on behalf of Telephone and Data
                   Systems Inc, US Cellular Corporation, USCC Wireless Investment Inc (Mundel,
                   Benjamin) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                   05/20/2020)
05/26/2020   103   JOINT MOTION to Transfer Case by Defendants to the USDC−District of Columbia
                   by Allison Cryor DiNardo, King Street Inc, King Street Wireless LP. (Attachments: #
                   1 Exhibit 1 − Amended Complaint)(Avery, Michael) [Transferred from Oklahoma
                   Western on 7/30/2020.] (Entered: 05/26/2020)
05/26/2020   104   JOINT MOTION to Stay Case by Defendants pending resolution of Joint Motion to
                   Transfer Venue by Allison Cryor DiNardo, King Street Inc, King Street Wireless LP.
                   (Avery, Michael) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                   05/26/2020)
06/04/2020   105   MOTION to Expedite Consideration of Motion to Stay [Defendants'Joint] by Allison
                   Cryor DiNardo, King Street Inc, King Street Wireless LP. (Avery, Michael)
                   [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 06/04/2020)
06/09/2020   106   MOTION for Leave to Appear Pro Hac Vice of Sara M. Lord Filing fee $ 50, receipt
                   number 1087−3169387 by All Plaintiffs. (Attachments: # 1 Exhibit Request for
                   Admission)(Behenna, Vicki) [Transferred from Oklahoma Western on 7/30/2020.]
                   (Entered: 06/09/2020)
06/09/2020   107   MOTION for Leave to Appear Pro Hac Vice Micah L. Kanters Filing fee $ 50, receipt
                   number 1087−3169407 by All Plaintiffs. (Attachments: # 1 Exhibit Request for
                   Admission)(Behenna, Vicki) [Transferred from Oklahoma Western on 7/30/2020.]
                   (Entered: 06/09/2020)
06/09/2020   108   MOTION for Leave to Appear Pro Hac Vice of John P. Rowley III Filing fee $ 50,
                   receipt number 1087−3169419 by All Plaintiffs. (Attachments: # 1 Exhibit Request
                   for Admission)(Behenna, Vicki) [Transferred from Oklahoma Western on 7/30/2020.]
                   (Entered: 06/09/2020)
06/09/2020   109   MOTION for Leave to Appear Pro Hac Vice of Georgina C. Shepard Filing fee $ 50,
                   receipt number 1087−3169427 by All Plaintiffs. (Attachments: # 1 Exhibit Request


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                   for Admission)(Behenna, Vicki) [Transferred from Oklahoma Western on 7/30/2020.]
                   (Entered: 06/09/2020)
06/09/2020   110   MOTION for Leave to Appear Pro Hac Vice of Adriaen M. Morse, Jr. Filing fee $ 50,
                   receipt number 1087−3169437 by All Plaintiffs. (Attachments: # 1 Exhibit Request
                   for Admission)(Behenna, Vicki) [Transferred from Oklahoma Western on 7/30/2020.]
                   (Entered: 06/09/2020)
06/10/2020   111   ORDER granting 106 Motion to Appear Pro Hac Vice. Ms. Lord shall register to file
                   documents electronically in this district, see LCvR 83.2(g), on or before June 23,
                   2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                   form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                   06/10/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                   06/10/2020)
06/10/2020   112   ORDER granting 110 Motion to Appear Pro Hac Vice. Mr. Morse shall register to file
                   documents electronically in this district, see LCvR 83.2(g), on or before June 23,
                   2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                   form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                   06/10/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                   06/10/2020)
06/10/2020   113   ORDER granting 109 Motion to Appear Pro Hac Vice. Ms. Shepard shall register to
                   file documents electronically in this district, see LCvR 83.2(g), on or before June 23,
                   2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                   form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                   06/10/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                   06/10/2020)
06/10/2020   114   ORDER granting 108 Motion to Appear Pro Hac Vice. Mr. Rowley shall register to
                   file documents electronically in this district, see LCvR 83.2(g), on or before June 23,
                   2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                   form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                   06/10/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                   06/10/2020)
06/10/2020   115   ORDER granting 107 Motion to Appear Pro Hac Vice. Mr. Kanters shall register to
                   file documents electronically in this district, see LCvR 83.2(g), on or before June 23,
                   2020, and shall file an entry of appearance, see id. R. 83.4, by that same date on the
                   form prescribed by the Clerk of the Court. Signed by Honorable Charles Goodwin on
                   06/10/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                   06/10/2020)
06/10/2020   116   ENTRY of Appearance by Georgina C Shepard on behalf of All Plaintiffs (Shepard,
                   Georgina) [Transferred from Oklahoma Western on 7/30/2020.] (Entered:
                   06/10/2020)
06/10/2020   117   RESPONSE in Opposition re 105 MOTION to Expedite Consideration of Motion to
                   Stay [Defendants'Joint] filed by All Plaintiffs. (Shepard, Georgina) [Transferred from
                   Oklahoma Western on 7/30/2020.] (Entered: 06/10/2020)
06/11/2020   118   ENTRY of Appearance by Sara M Lord on behalf of All Plaintiffs (Lord, Sara)
                   [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 06/11/2020)
06/11/2020   119


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                   ENTRY of Appearance by John P Rowley, III on behalf of All Plaintiffs (Rowley,
                   John) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 06/11/2020)
06/11/2020   120   ENTRY of Appearance by Adriaen M Morse, Jr on behalf of All Plaintiffs (Morse,
                   Adriaen) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 06/11/2020)
06/11/2020   121   ENTRY of Appearance by Micah L Kanters on behalf of All Plaintiffs (Kanters,
                   Micah) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 06/11/2020)
06/12/2020   122   RESPONSE in Opposition re 104 JOINT MOTION to Stay Case by Defendants
                   pending resolution of Joint Motion to Transfer Venue filed by All Plaintiffs. (Lord,
                   Sara) [Transferred from Oklahoma Western on 7/30/2020.] (Entered: 06/12/2020)
06/12/2020   123   ORDER granting in part and denying in part 105 Motion to Expedite. For good cause
                   shown, Defendants' deadline to answer or otherwise respond to the Complaint is
                   extended to August 3, 2020. Defendants' Consolidated Joint Motion to Stay Briefing
                   on Motions to Dismiss Pending Resolution of Defendants' Consolidated Joint Motion
                   to Transfer Venue (Doc. No. 104 ) is DENIED. Signed by Honorable Charles
                   Goodwin on 06/12/2020. (jb) [Transferred from Oklahoma Western on 7/30/2020.]
                   (Entered: 06/12/2020)
06/15/2020   124   RESPONSE in Opposition re 103 JOINT MOTION to Transfer Case by Defendants
                   to the USDC−District of Columbia filed by All Plaintiffs. (Attachments: # 1 Exhibit
                   CMA 302−Enid, OK, # 2 Exhibit CMA 597−Oklahoma 2−Harper, # 3 Exhibit CMA
                   600−Oklahoma 5−Roger Mills, # 4 Exhibit CMA 602−Oklahoma 7−Beckham, # 5
                   Exhibit CMA 603−Oklahoma 8−Jackson, # 6 Exhibit CMA 260−Lawton, OK, # 7
                   Exhibit CMA 604−Oklahoma 9−Garvin, # 8 Exhibit BEA 093−Joplin, MO−KS−OK,
                   # 9 Exhibit 2015 U.S. Cellular Press Release, # 10 Exhibit King Street Wireless
                   Communications Services Status Report)(Lord, Sara) [Transferred from Oklahoma
                   Western on 7/30/2020.] (Entered: 06/15/2020)
06/22/2020   125   REPLY to Response to Motion re 103 JOINT MOTION to Transfer Case by
                   Defendants to the USDC−District of Columbia filed by Allison Cryor DiNardo, King
                   Street Inc, King Street Wireless LP. (Avery, Michael) [Transferred from Oklahoma
                   Western on 7/30/2020.] (Entered: 06/22/2020)
07/20/2020         IMPORTANT NOTICE: The United States District Court for the Western District
                   of Oklahoma (OKWD) is upgrading its current CM/ECF system to the Next
                   Generation of CM/ECF (NextGen CM/ECF) on Monday, August 3, 2020. Complete
                   information regarding the OKWD NextGen CM/ECF implementation is available at
                   http://www.okwd.uscourts.gov/nextgen−information.****Currently, you may share a
                   single PACER account with other attorneys in your firm. With the new OKWD
                   NextGen CM/ECF system, sharing of individual PACER accounts is prohibited. You
                   must have an individual upgraded PACER account linked to your e−filing account.
                   Once again, shared PACER accounts cannot be used by OKWD e−filing attorneys.
                   ****Preparing for NextGen CM/ECF is a two−step process. Step one is to upgrade
                   your PACER account and step two is to link your upgraded PACER account to the
                   OKWD e−filing account in the upgraded NextGen CM/ECF system. This notice only
                   addresses the first step because the second step cannot be completed until on or after
                   August 3, 2020. ****Many PACER accounts have already been upgraded. The first
                   step is to determine whether you have an "Upgraded" PACER account. If any of the
                   following is true, you have an upgraded PACER account and no action is required
                   until after the OKWD NextGen CM/ECF upgrade on August 3, 2020: 1) You have an
                   upgraded PACER account for another NextGen court or 2) Your PACER account was


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                   created after August 10, 2014. If neither of these is true, you must upgrade your
                   legacy PACER account before you can link your PACER account to your new
                   NextGen CM/ECF account. ****OKWDs current CM/ECF system will NOT be
                   available from 11:00 AM on 07/31/20 until 8:00 AM on 08/03/20 due to the upgrade.
                   ****Additional notices will be sent at a later date regarding the second step of this
                   process. If you have questions, please contact the PACER Service Center at
                   800−676−6856 or the OKWD Clerk's Office CM/ECF Help Desk at 405−609−5555.
                   (Pigott, William) (ADI) [Transferred from Oklahoma Western on 7/30/2020.]
                   (Entered: 07/20/2020)
07/28/2020   126   UNOPPOSED MOTION for Leave to File Excess Pages of Brief in Support of Motion
                   to Dismiss by Telephone and Data Systems Inc, US Cellular Corporation, USCC
                   Wireless Investment Inc. (Webber, Daniel) [Transferred from Oklahoma Western on
                   7/30/2020.] (Entered: 07/28/2020)
07/29/2020   127   ORDER granting 103 Motion to Transfer Case. These matters are hereby
                   TRANSFERRED to the United States District Court for the District of Columbia.
                   Signed by Honorable Charles Goodwin on 07/29/2020. (jb) [Transferred from
                   Oklahoma Western on 7/30/2020.] (Entered: 07/29/2020)
07/30/2020   128   Case transferred in from District of Oklahoma Western; Case Number
                   5:15−cv−00510. Original file certified copy of transfer order and docket sheet
                   received. (Entered: 07/30/2020)
07/31/2020   129   NOTICE of Appearance by Andrew Santo Tulumello on behalf of ALLISON
                   CRYOR DINARDO, KING STREET INC, KING STREET WIRELESS, L.P.
                   (Tulumello, Andrew) (Entered: 07/31/2020)
07/31/2020   130   NOTICE of Appearance by Lucas W.E. Croslow on behalf of TELEPHONE AND
                   DATA SYSTEMS, INC., US CELLULAR CORPORATION, USCC WIRELESS
                   INVESTMENT, INC. (Croslow, Lucas) (Entered: 07/31/2020)
07/31/2020   131   NOTICE of Appearance by Stuart F. Delery on behalf of ALLISON CRYOR
                   DINARDO, KING STREET INC, KING STREET WIRELESS, L.P. (Delery, Stuart)
                   (Entered: 07/31/2020)
07/31/2020   132   NOTICE of Appearance by Robert Joseph Conlan, Jr on behalf of TELEPHONE
                   AND DATA SYSTEMS, INC., US CELLULAR CORPORATION, USCC
                   WIRELESS INVESTMENT, INC. (Conlan, Robert) (Entered: 07/31/2020)
07/31/2020   133   Consent MOTION to Set Deadline for Motions to Dismiss Defendants' Joint Consent
                   Motion to Set Deadline for Motions to Dismiss by ALLISON CRYOR DINARDO,
                   KING STREET INC, KING STREET WIRELESS, L.P. (Attachments: # 1 Proposed
                   Order)(Tulumello, Andrew) (Entered: 07/31/2020)
08/03/2020   134   NOTICE of Appearance by David Marshall Schilling on behalf of TELEPHONE
                   AND DATA SYSTEMS, INC., US CELLULAR CORPORATION, USCC
                   WIRELESS INVESTMENT, INC. (Schilling, David) (Entered: 08/03/2020)
08/03/2020         MINUTE ORDER: Granting Defendants' Motion 133 to Extend Deadlines, EXCEPT
                   that all deadlines are hereby STAYED pending further order of the Court. Consistent
                   with ECF No. 45 , "The parties shall serve copies of all pleadings and motions filed in
                   this action, including supporting memoranda, upon the United States, as provided by
                   31U.S.C. § 3730(c)(3)." However, it does not appear that the United States has
                   entered an appearance in this district and there is no evidence in the record that the


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                   United States has been served with a copy of Defendants' motion. Moreover, although
                   the Relators were represented by counsel in the transferee district, the docket indicates
                   that the Relators are either no longer represented by counsel or their attorneys have
                   not been admitted to the bar of this court because they do not appear as counsel of
                   record. Therefore, even though Defendants represent that the Relators have agreed to
                   the new proposed deadline for filing Motions to Dismiss, an order by the court is
                   premature. Additionally, prior to imposing any deadlines, the court will require a joint
                   status report from the parties. By 9/3/2020 all parties who have entered an appearance
                   shall file a joint status report not exceeding ten pages setting forth: 1) the nature of
                   this case; 2) the relevant history of this case prior to the transfer; 3) how this case
                   differs from O'CONNOR v. US CELLULAR CORPORATION (20−cv−2071−TSC);
                   and 4) a joint proposal for moving forward with this case. To the extent counsel for
                   the Relators have appeared, the report shall also include the status of any defendants
                   who have not entered an appearance. The report shall be accompanied by a jointly
                   proposed order. The Clerk of the Court shall send a copy of this order to the attorneys
                   listed on the Complaint as counsel for the Relators (see ECF No. 2 at page 5): Vicki.
                   Behenna, CROWE & DUNLEVY, A Professional Corp. 324 North Robinson, Suite
                   100 Oklahoma City, OK 73102; Thomas B. Snyder, CROWE & DUNLEVY, A
                   Professional Corp. 324 North Robinson, Suite 100 Oklahoma City, OK 73102; and
                   Benjamin J. Vernia, THE VERNIA LA W FIRM 1455 Pennsylvania Ave., N.W.,
                   Suite 400 Washington, D.C. 20004.. Signed by Judge Tanya S. Chutkan on 8/3/2020.
                   (DJS) (Entered: 08/03/2020)
08/04/2020         Set/Reset Deadlines: Joint Status Report due by 9/3/2020. (tb) (Entered: 08/04/2020)
08/04/2020   135   NOTICE of Appearance by Adriaen M. Morse, Jr on behalf of SARA F LEIBMAN,
                   MARK J O'CONNOR (Morse, Adriaen) (Entered: 08/04/2020)
08/07/2020   136   NOTICE of Appearance by Benjamin James Vernia on behalf of SARA F
                   LEIBMAN, MARK J O'CONNOR (Vernia, Benjamin) (Entered: 08/07/2020)
08/24/2020   137   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Sara M. Lord, Filing
                   fee $ 100, receipt number ADCDC−7500198. Fee Status: Fee Paid. by MARK J
                   O'CONNOR (Attachments: # 1 Declaration, # 2 Text of Proposed Order)(Morse,
                   Adriaen) (Entered: 08/24/2020)
08/25/2020   138   NOTICE of Appearance by Darrell C. Valdez on behalf of UNITED STATES OF
                   AMERICA (Valdez, Darrell) (Entered: 08/25/2020)
08/25/2020   139   ERRATA by UNITED STATES OF AMERICA 138 Notice of Appearance filed by
                   UNITED STATES OF AMERICA. (Valdez, Darrell) (Entered: 08/25/2020)
08/25/2020         MINUTE ORDER: Granting 137 Motion for Leave to Appear Pro Hac Vice. Sara M.
                   Lord is hereby admitted pro hac vice to appear in this matter on behalf
                   Plaintiffs−Relators.Counsel should register for e−filing via PACER and file a
                   notice of appearance pursuant to LCvR 83.6(a). Click for instructions. Signed by
                   Judge Tanya S. Chutkan on 8/25/2020. (DJS) (Entered: 08/25/2020)
08/27/2020   140   NOTICE of Appearance by Sara M. Lord on behalf of SARA F LEIBMAN, MARK J
                   O'CONNOR (Lord, Sara) (Entered: 08/27/2020)
09/03/2020   141   Joint STATUS REPORT Parties' Joint Status Report Pursuant to August 3, 2020
                   Order by ALLISON CRYOR DINARDO, KING STREET INC, KING STREET
                   WIRELESS, L.P.. (Tulumello, Andrew) (Entered: 09/03/2020)



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09/18/2020   142   NOTICE of Appearance by Micah Kanters on behalf of All Plaintiffs (Kanters,
                   Micah) (Main Document 142 replaced on 9/18/2020) (ztd). (Entered: 09/18/2020)
09/21/2020   143   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Georgina C. Shepard,
                   Filing fee $ 100, receipt number ADCDC−7617984. Fee Status: Fee Paid. by SARA F
                   LEIBMAN, MARK J O'CONNOR (Attachments: # 1 Declaration, # 2 Text of
                   Proposed Order)(Morse, Adriaen) (Entered: 09/21/2020)
09/25/2020   144   NOTICE OF Withdrawal as Attorney Lucas W.E. Croslow by TELEPHONE AND
                   DATA SYSTEMS, INC., US CELLULAR CORPORATION, USCC WIRELESS
                   INVESTMENT, INC. (Mundel, Benjamin) Modified text on 9/29/2020 (ztd).
                   (Entered: 09/25/2020)
10/01/2020   145   Joint STATUS REPORT Supplement to September 3, 2020 Status Report by SARA F
                   LEIBMAN, MARK J O'CONNOR. (Attachments: # 1 Text of Proposed
                   Order)(Kanters, Micah) (Entered: 10/01/2020)
10/07/2020   146   NOTICE of Proposed Order Regarding Scheduling by SARA F LEIBMAN, MARK J
                   O'CONNOR re 145 Status Report (Kanters, Micah) (Entered: 10/07/2020)
10/07/2020   147   NOTICE of Appearance by David W. DeBruin on behalf of ADVANTAGE
                   SPECTRUM LP, NONESUCH INC (DeBruin, David) (Entered: 10/07/2020)
10/07/2020         MINUTE ORDER: Having considered the parties' joint status reports 145 146 , it is
                   hereby ordered that the parties shall adhere to the following deadlines. Defendants'
                   Responsive Pleadings and/or Motions to Dismiss due October 26, 2020. Relators'
                   Response in Opposition to Motions to Dismiss due November 25, 2020. Defendants'
                   Replies in Support of Motions to Dismiss due December 16, 2020. Signed by Judge
                   Tanya S. Chutkan on 10/7/2020. (DJS) (Entered: 10/07/2020)
10/08/2020         Set/Reset Deadlines: Dispositive Motions and/or responsive pleadings due by
                   10/26/2020. Response to Dispositive Motions due by 11/25/2020. Replies to
                   Dispositive Motions due by 12/16/2020. (tb) (Entered: 10/08/2020)
10/19/2020         MINUTE ORDER: Granting 143 Motion for Leave to Appear Pro Hac Vice.
                   Georgina C.Shepard d is hereby admitted pro hac vice to appear in this matter on
                   behalf Plaintiffs−Relators. Counsel should register for e−filing via PACER and file
                   a notice of appearance pursuant to LCvR 83.6(a). Click for instructions. Signed
                   by Judge Tanya S. Chutkan on 10/19/2020. (DJS) (Entered: 10/19/2020)
10/20/2020   148   NOTICE of Appearance by Gabriel Schonfeld on behalf of TELEPHONE AND
                   DATA SYSTEMS, INC., US CELLULAR CORPORATION, USCC WIRELESS
                   INVESTMENT, INC. (Schonfeld, Gabriel) (Main Document 148 replaced on
                   10/21/2020) (ztd). (Entered: 10/20/2020)
10/20/2020   149   NOTICE of Appearance by Georgina C. Shepard on behalf of All Plaintiffs (Shepard,
                   Georgina) (Entered: 10/20/2020)
10/26/2020   150   NOTICE of Appearance by David Bitkower on behalf of ADVANTAGE
                   SPECTRUM LP, NONESUCH INC (Bitkower, David) (Entered: 10/26/2020)
10/26/2020   151   MOTION to Dismiss Complaint by ALLISON CRYOR DINARDO, KING STREET
                   INC, KING STREET WIRELESS, L.P. (Attachments: # 1 Memorandum of Points
                   and Authorities, # 2 Exhibit A, # 3 Exhibit B, # 4 Proposed Order)(Tulumello,
                   Andrew) (Entered: 10/26/2020)



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10/26/2020         MINUTE ORDER finding as moot 126 Motion for Leave to File Excess Pages.
                   Signed by Judge Tanya S. Chutkan on 10/26/2020. (DJS) (Entered: 10/26/2020)
10/26/2020   152   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Daniel J. Weiss, Filing
                   fee $ 100, receipt number ADCDC−7759420. Fee Status: Fee Paid. by
                   ADVANTAGE SPECTRUM LP, NONESUCH INC (Attachments: # 1 Declaration of
                   Daniel J. Weiss, # 2 Text of Proposed Order)(DeBruin, David) (Entered: 10/26/2020)
10/26/2020   153   MOTION to Dismiss by ADVANTAGE SPECTRUM LP, NONESUCH INC
                   (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                   E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Text of Proposed
                   Order)(DeBruin, David) (Entered: 10/26/2020)
10/26/2020   154   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                   Financial Interests by ADVANTAGE SPECTRUM LP, NONESUCH INC (DeBruin,
                   David) (Entered: 10/26/2020)
10/26/2020   155   MOTION to Dismiss by TELEPHONE AND DATA SYSTEMS, INC., US
                   CELLULAR CORPORATION, USCC WIRELESS INVESTMENT, INC.
                   (Attachments: # 1 Brief in Support of Motion to Dismiss, # 2 Declaration of Frank
                   Volpe in Support of Motion to Dismiss, # 3 Exhibit A to Declaration of Frank Volpe,
                   # 4 Exhibit B to Declaration of Frank Volpe, # 5 Exhibit C to Declaration of Frank
                   Volpe, # 6 Exhibit D to Declaration of Frank Volpe, # 7 Exhibit E to Declaration of
                   Frank Volpe, # 8 Exhibit F to Declaration of Frank Volpe, # 9 Exhibit G to
                   Declaration of Frank Volpe, # 10 Exhibit H to Declaration of Frank Volpe, # 11
                   Exhibit I to Declaration of Frank Volpe, # 12 Text of Proposed Order)(Volpe, Frank)
                   (Entered: 10/26/2020)
11/02/2020         MINUTE ORDER: Granting 152 Motion for Leave to Appear Pro Hac Vice. Daniel
                   Justin Weiss is hereby admitted pro hac vice to appear in this matter on behalf of
                   Defendants ADVANTAGE SPECTRUM LP and NONESUCH INC. Counsel should
                   register for e−filing via PACER and file a notice of appearance pursuant to
                   LCvR 83.6(a). Click for instructions. Signed by Judge Tanya S. Chutkan on
                   11/2/2020. (DJS) (Entered: 11/02/2020)
11/06/2020   156   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− John P. Rowley III,
                   Filing fee $ 100, receipt number ADCDC−7805553. Fee Status: Fee Paid. by SARA F
                   LEIBMAN, MARK J O'CONNOR (Attachments: # 1 Declaration, # 2 Text of
                   Proposed Order)(Morse, Adriaen) (Entered: 11/06/2020)
11/06/2020   157   NOTICE of Appearance by Daniel Weiss on behalf of ADVANTAGE SPECTRUM
                   LP, NONESUCH INC (Weiss, Daniel) (Entered: 11/06/2020)
11/12/2020         MINUTE ORDER: Granting 156 Motion for Leave to Appear Pro Hac Vice. John P.
                   Rowley III is hereby admitted pro hac vice to appear in this matter on behalf of
                   Plaintiffs/Relators. Counsel should register for e−filing via PACER and file a
                   notice of appearance pursuant to LCvR 83.6(a). Click for instructions. Signed by
                   Judge Tanya S. Chutkan on 11/12/2020. (DJS) (Entered: 11/12/2020)
11/18/2020   158   NOTICE of Appearance by John P. Rowley, III on behalf of SARA F LEIBMAN,
                   MARK J O'CONNOR (Rowley, John) (Entered: 11/18/2020)
11/25/2020   159   Memorandum in opposition to re 151 MOTION to Dismiss Complaint, 153 MOTION
                   to Dismiss , 155 MOTION to Dismiss filed by SARA F LEIBMAN, MARK J
                   O'CONNOR. (Attachments: # 1 Text of Proposed Order)(Morse, Adriaen) (Entered:


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                   11/25/2020)
12/16/2020   160   REPLY re 155 MOTION to Dismiss filed by TELEPHONE AND DATA SYSTEMS,
                   INC., US CELLULAR CORPORATION, USCC WIRELESS INVESTMENT, INC..
                   (Volpe, Frank) (Entered: 12/16/2020)
12/16/2020   161   REPLY to opposition to motion re 153 MOTION to Dismiss filed by ADVANTAGE
                   SPECTRUM LP, NONESUCH INC. (DeBruin, David) (Entered: 12/16/2020)
12/16/2020   162   REPLY to opposition to motion re 151 MOTION to Dismiss Complaint filed by
                   ALLISON CRYOR DINARDO, KING STREET INC, KING STREET WIRELESS,
                   L.P.. (Tulumello, Andrew) (Entered: 12/16/2020)
12/30/2020   163   NOTICE OF WITHDRAWAL OF APPEARANCE as to ALLISON CRYOR
                   DINARDO, KING STREET INC, KING STREET WIRELESS, L.P.. Attorney Stuart
                   F. Delery terminated. (Delery, Stuart) (Entered: 12/30/2020)
04/13/2021   164   NOTICE OF SUPPLEMENTAL AUTHORITY by ADVANTAGE SPECTRUM LP,
                   NONESUCH INC (Attachments: # 1 Exhibit A)(DeBruin, David) (Entered:
                   04/13/2021)
04/20/2021   165   RESPONSE re 164 NOTICE OF SUPPLEMENTAL AUTHORITY filed by MARK J
                   O'CONNOR. (Morse, Adriaen) (Entered: 04/20/2021)
04/30/2021         MINUTE ORDER: Going forward, any Notice of Supplemental Authority and any
                   response shall be limited to 3 pages. The court will notify the parties should a reply
                   become necessary. Signed by Judge Tanya S. Chutkan on 4/30/21. (DJS) (Entered:
                   04/30/2021)
06/11/2021   166   NOTICE of Change of Address by Andrew Santo Tulumello (Tulumello, Andrew)
                   (Entered: 06/11/2021)
11/19/2021   167   NOTICE OF WITHDRAWAL OF APPEARANCE as to TELEPHONE AND DATA
                   SYSTEMS, INC., US CELLULAR CORPORATION, USCC WIRELESS
                   INVESTMENT, INC.. Attorney David Marshall Schilling terminated. (Mundel,
                   Benjamin) (Entered: 11/19/2021)
01/04/2022   168   NOTICE of Appearance by Chantale Fiebig on behalf of ALLISON CRYOR
                   DINARDO, KING STREET INC, KING STREET WIRELESS, L.P. (Fiebig,
                   Chantale) (Entered: 01/04/2022)
03/07/2022   169   MOTION to Withdraw as Attorney Georgina A. Shepard by MARK J O'CONNOR.
                   (Morse, Adriaen) (Entered: 03/07/2022)
03/08/2022         MINUTE ORDER granting 169 Motion to Withdraw as Attorney. Attorney Georgina
                   C. Shepard terminated. Signed by Judge Tanya S. Chutkan on 3/8/2022. (lcac)
                   (Entered: 03/08/2022)
03/31/2022   170   MEMORANDUM OPINION re 151 Motion to Dismiss, 153 Motion to Dismiss, &
                   155 Motion to Dismiss. (Attachments: # 1 Appendix). Signed by Judge Tanya S.
                   Chutkan on 3/31/2022. (lcac) (Entered: 03/31/2022)
03/31/2022   171   ORDER granting 151 Motion to Dismiss; granting 153 Motion to Dismiss; & granting
                   155 Motion to Dismiss. Any amended complaint shall be filed no later than April 29,
                   2022. See order for further details. Signed by Judge Tanya S. Chutkan on 3/31/2022.
                   (lcac) (Entered: 03/31/2022)


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03/31/2022         Set/Reset Deadlines: Amended Complaint due by 4/29/2022. (tb) (Entered:
                   03/31/2022)
04/29/2022   172   ENTERED IN ERROR.....AMENDED COMPLAINT against SARA F LEIBMAN,
                   MARK J O'CONNOR with Jury Demand filed by SARA F LEIBMAN, MARK J
                   O'CONNOR. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit
                   Exhibit 3, # 4 Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6, # 7
                   Exhibit Exhibit 7, # 8 Exhibit Exhibit 8, # 9 Exhibit Exhibit 9, # 10 Exhibit Exhibit
                   10, # 11 Exhibit Exhibit 11, # 12 Exhibit Exhibit 12, # 13 Exhibit Exhibit 13, # 14
                   Exhibit Exhibit 14, # 15 Exhibit Exhibit 15, # 16 Exhibit Exhibit 16)(Lord, Sara)
                   Modified to enter in error on 5/2/2022; refiled as Docket Entry 174 . (znmw).
                   (Entered: 04/29/2022)
04/29/2022   173   MOTION to Withdraw as Attorney Micah Kanters by SARA F LEIBMAN, MARK J
                   O'CONNOR. (Kanters, Micah) (Entered: 04/29/2022)
04/29/2022   174   AMENDED COMPLAINT against All Defendants with Jury Demand filed by SARA
                   F LEIBMAN, MARK J O'CONNOR. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                   Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, #
                   10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16
                   Exhibit)(Lord, Sara) (Entered: 04/29/2022)
04/29/2022         MINUTE ORDER granting 173 Motion to Withdraw as Attorney. Attorney Micah
                   Kanters terminated. Signed by Judge Tanya S. Chutkan on 4/29/22. (DJS) (Entered:
                   04/29/2022)
05/09/2022   175   MOTION for Extension of Time to File Answer re 174 Amended Complaint, ,
                   MOTION for Briefing Schedule / Agreed Motion for Extension of Time to Respond to
                   Amended Complaint and for Briefing Schedule by ADVANTAGE SPECTRUM LP,
                   ALLISON CRYOR DINARDO, KING STREET INC, KING STREET WIRELESS,
                   L.P., NONESUCH INC, TELEPHONE AND DATA SYSTEMS, INC., US
                   CELLULAR CORPORATION, USCC WIRELESS INVESTMENT, INC..
                   (Attachments: # 1 Proposed Order)(DeBruin, David) (Entered: 05/09/2022)
05/10/2022         MINUTE ORDER: Granting Consent 175 Motion for Extension of Deadlines. The
                   deadline for Defendants to file any motions or other responses to the Amended
                   Complaint shall be June 13, 2022. Plaintiffs' response(s) to those motions shall be
                   filed by July 27, 2022. Defendants' replies shall be filed by August 17, 2022.Signed
                   by Judge Tanya S. Chutkan on 5/10/22. (DJS) (Entered: 05/10/2022)
05/10/2022         Set/Reset Deadlines: Motion due by 6/13/2022. Response due by 7/27/2022. Reply
                   due by 8/17/2022. (tb) (Entered: 05/10/2022)
05/16/2022   176   REQUEST FOR SUMMONS TO ISSUE Sunshine Spectrum, Inc. filed by SARA F
                   LEIBMAN, MARK J O'CONNOR.(Lord, Sara) (Entered: 05/16/2022)
05/17/2022   177   SUMMONS (1) Issued Electronically as to SUNSHINE SPECTRUM, INC.. (znmw)
                   (Entered: 05/17/2022)
06/13/2022   178   MOTION to Dismiss the Amended Complaint by ALLISON CRYOR DINARDO,
                   KING STREET INC, KING STREET WIRELESS, L.P.. (Attachments: # 1
                   Memorandum in Support, # 2 Declaration of Brian Liegel, # 3 Exhibit A, # 4 Exhibit
                   B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Exhibit G, # 10
                   Exhibit H, # 11 Exhibit I, # 12 Exhibit J, # 13 Exhibit K, # 14 Exhibit L, # 15 Exhibit
                   M, # 16 Text of Proposed Order)(Tulumello, Andrew) (Entered: 06/13/2022)


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06/13/2022   179   MOTION to Dismiss Amended Complaint by ADVANTAGE SPECTRUM LP,
                   NONESUCH INC, SUNSHINE SPECTRUM, INC.. (Attachments: # 1 Memorandum
                   in Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, #
                   7 Exhibit F, # 8 Exhibit G, # 9 Text of Proposed Order)(DeBruin, David) (Entered:
                   06/13/2022)
06/13/2022   180   MOTION to Dismiss Plaintiffs/Relators' Amended Complaint by TELEPHONE AND
                   DATA SYSTEMS, INC., US CELLULAR CORPORATION, USCC WIRELESS
                   INVESTMENT, INC.. (Attachments: # 1 Memorandum in Support of Motion to
                   Dismiss, # 2 Text of Proposed Order)(Volpe, Frank) (Entered: 06/13/2022)
07/25/2022   181   MOTION for Leave to File Consolidated Response by SARA F LEIBMAN, MARK J
                   O'CONNOR. (Attachments: # 1 Text of Proposed Order)(Lord, Sara) (Entered:
                   07/25/2022)
07/27/2022         MINUTE ORDER granting 181 Motion for Leave to File Consolidated Response in
                   Excess of Page Limits. Plaintiff−Relators may file a consolidated response to
                   Defendants' Motions to Dismiss. See ECF Nos. 178 , 180 , and 181 .
                   Plaintiff−Relators' consolidated response is not to exceed 60 pages. Signed by Judge
                   Tanya S. Chutkan on 7/27/2022. (lcac) (Entered: 07/27/2022)
07/27/2022   182   RESPONSE re 179 MOTION to Dismiss Amended Complaint, 180 MOTION to
                   Dismiss Plaintiffs/Relators' Amended Complaint, 178 MOTION to Dismiss the
                   Amended Complaint filed by SARA F LEIBMAN, MARK J O'CONNOR.
                   (Attachments: # 1 Text of Proposed Order)(Lord, Sara) (Entered: 07/27/2022)
07/29/2022   183   Unopposed MOTION for Extension of Time to File Response/Reply as to 179
                   MOTION to Dismiss Amended Complaint, 180 MOTION to Dismiss
                   Plaintiffs/Relators' Amended Complaint, 178 MOTION to Dismiss the Amended
                   Complaint by ADVANTAGE SPECTRUM LP, ALLISON CRYOR DINARDO,
                   KING STREET INC, KING STREET WIRELESS, L.P., NONESUCH INC,
                   SUNSHINE SPECTRUM, INC., TELEPHONE AND DATA SYSTEMS, INC., US
                   CELLULAR CORPORATION, USCC WIRELESS INVESTMENT, INC..
                   (Attachments: # 1 Text of Proposed Order)(Tulumello, Andrew) (Entered:
                   07/29/2022)
08/07/2022         MINUTE ORDER: Granting 183 Unopposed Motion for Extension of Deadlines.
                   Defendants shall file reply briefs in support of their motions to dismiss the amended
                   complaint by August 24, 2022. Signed by Judge Tanya S. Chutkan on 8/7/22. (DJS)
                   (Entered: 08/07/2022)
08/07/2022         Set/Reset Deadlines: Reply due by 8/24/2022. (tb) (Entered: 08/07/2022)
08/24/2022   184   REPLY to opposition to motion re 180 MOTION to Dismiss Plaintiffs/Relators'
                   Amended Complaint filed by TELEPHONE AND DATA SYSTEMS, INC., US
                   CELLULAR CORPORATION, USCC WIRELESS INVESTMENT, INC.. (Volpe,
                   Frank) (Entered: 08/24/2022)
08/24/2022   185   REPLY to opposition to motion re 179 MOTION to Dismiss Amended Complaint /
                   Reply Memorandum of Law in Support of the Motion to Dismiss of Defendants
                   Advantage Spectrum, L.P., Sunshine Spectrum, Inc., and Nonesuch, Inc. filed by
                   ADVANTAGE SPECTRUM LP, NONESUCH INC, SUNSHINE SPECTRUM,
                   INC.. (DeBruin, David) (Entered: 08/24/2022)
08/24/2022   186


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                   REPLY to opposition to motion re 178 MOTION to Dismiss the Amended Complaint
                   filed by ALLISON CRYOR DINARDO, KING STREET INC, KING STREET
                   WIRELESS, L.P.. (Tulumello, Andrew) (Entered: 08/24/2022)
09/02/2022   187   NOTICE OF SUPPLEMENTAL AUTHORITY by ADVANTAGE SPECTRUM LP,
                   ALLISON CRYOR DINARDO, KING STREET INC, KING STREET WIRELESS,
                   L.P., NONESUCH INC, SUNSHINE SPECTRUM, INC., TELEPHONE AND
                   DATA SYSTEMS, INC., US CELLULAR CORPORATION, USCC WIRELESS
                   INVESTMENT, INC. (Attachments: # 1 Exhibit A)(Tulumello, Andrew) (Entered:
                   09/02/2022)
09/08/2022   188   RESPONSE re 187 NOTICE OF SUPPLEMENTAL AUTHORITY, filed by SARA F
                   LEIBMAN, MARK J O'CONNOR. (Lord, Sara) (Entered: 09/08/2022)
03/09/2023   189   MEMORANDUM OPINION re: 178 Motion to Dismiss, 179 Motion to Dismiss, and
                   180 Motion to Dismiss. Signed by Judge Tanya S. Chutkan on 03/09/2023. (lcss)
                   (Entered: 03/09/2023)
03/09/2023   190   ORDER granting 178 Motion to Dismiss; granting 179 Motion to Dismiss; and
                   granting 180 Motion to Dismiss. Signed by Judge Tanya S. Chutkan on 03/09/2023.
                   (lcss) (Entered: 03/09/2023)
03/22/2023   191   NOTICE OF WITHDRAWAL OF APPEARANCE as to TELEPHONE AND DATA
                   SYSTEMS, INC., US CELLULAR CORPORATION, USCC WIRELESS
                   INVESTMENT, INC.. Attorney Gabriel Schonfeld terminated. (Volpe, Frank)
                   (Entered: 03/22/2023)
04/07/2023   192   NOTICE OF APPEAL TO DC CIRCUIT COURT by SARA F LEIBMAN, MARK J
                   O'CONNOR. Filing fee $ 505, receipt number ADCDC−9983754. Fee Status: Fee
                   Paid. Parties have been notified. (Lord, Sara) (Entered: 04/07/2023)




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, ex rel.
 MARK J. O’CONNOR and SARA F.
 LEIBMAN.,
                       Plaintiffs-Relators,
                                                            Civil Action No.: 20-cv-2070 (TSC)
         v.

 UNITED STATES CELLULAR
 CORPORATION, et al.,
                      Defendants.


                             RELATORS’ NOTICE OF APPEAL

       Relators Mark J. O’Connor and Sara F. Leibman (“Relators”) hereby appeal to the United

States Court of Appeals for the District of Columbia Circuit, pursuant to Federal Rule of

Appellate Procedure 3, this Court’s March 9, 2023 Order, Dkt. No. 190, granting Defendants’

joint motions to dismiss Relator’s First Amended Complaint, see Dkt. Nos. 174, 178, 179, 180.



                                             By: /s/ Sara M. Lord
                                             Sara M. Lord
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                                             THE VERNIA LAW FIRM
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                                             Washington, DC 20004
                                             Telephone: 202.349.4053
                                             Fax: 866.572.6728

Date: April 7, 2023




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, ex rel.
 MARK J. O’CONNOR and SARA F.
 LEIBMAN

                Plaintiffs-Relators,
                                                          Civil Action No. 20-cv-2070 (TSC)
         v.

 UNITED STATES CELLULAR
 CORPORATION, et al.,

                Defendants.


                                          ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, ECF No. 189,

Defendants’ Motions to Dismiss, ECF Nos. 178, 179, 180, are hereby GRANTED. The case is

DISMISSED with prejudice. This is a final appealable order.



Date: March 9, 2023

                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, ex rel.
 MARK J. O’CONNOR and SARA F.
 LEIBMAN

                 Plaintiffs-Relators,
                                                              Civil Action No. 20-cv-2070 (TSC)
         v.

 UNITED STATES CELLULAR
 CORPORATION, et al.,

                 Defendants.


                                  MEMORANDUM OPINION

       Plaintiffs-Relators Mark J. O’Connor and Sara F. Leibman filed this False Claims Act

action against Defendants Advantage Spectrum, L.P., Allison Cryor DiNardo, Frequency

Advantage, L.P., King Street Inc., King Street Wireless, L.P., Nonesuch, Inc., Telephone and

Data Systems, Inc., United States Cellular Corporation, and USCC Wireless Investment, Inc. in

the United States District Court for the Western District of Oklahoma. Compl., ECF No. 2. After

the United States declined to intervene, ECF No. 42, the case was transferred upon joint motion

of the Defendants to this court in 2020, ECF No. 127. Upon transfer, three Defendants

separately moved to dismiss. ECF Nos. 151, 153, 155. The court granted those motions,

dismissing Plaintiffs’ claims without prejudice, but allowed Plaintiffs-Relators to file an

amended complaint, ECF No. 171, which they did, see Am. Compl., ECF No. 174. The three

Defendants have renewed their motions to dismiss, ECF Nos. 178, 179, 180. As in its previous

decision, the court will address the motions to dismiss jointly because all three make the same




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substantive arguments. For the reasons that follow, the court will again GRANT Defendants’

motions and dismiss Plaintiffs-Relators’ claims—this time, with prejudice.

                                    I.      BACKGROUND

       The court has already set forth most of the relevant legal and factual background for this

case. See United States ex rel. O’Connor v. United States Cellular Corp., No. 20-CV-2070

(TSC), 2022 WL 971290, at *1-3 (D.D.C. Mar. 31, 2022). In sum: Plaintiffs-Relators are

communications law attorneys who allege that Defendants fraudulently represented that

Frequency Advantage, L.P. (“Advantage”) was a “very small business” qualifying for

“Designated Entity” status and therefore a discount on its bids for electromagnetic spectrum

licenses during a 2015 Federal Communications Commission (“FCC”) auction.

       The court dismissed Plaintiffs-Relators’ claims in March 2022 under the False Claims

Act’s (“FCA”) public disclosure bar. Id. at *7. The bar requires the court to “dismiss an action

or claim” if “substantially the same allegations or transactions” have been publicly disclosed in a

hearing in which the Government or its agent was a party, in certain federal reports, hearings,

audits, or investigations, or in the new media. 31 U.S.C. § 3730(e)(4)(A). However, if the

relator was the “original source” of the information on which their allegations are based, and that

information “materially adds to the publicly disclosed allegations or transactions,” the public

disclosure bar does not apply. Id. § 3730(e)(4)(B); Rockwell Int’l Corp. v. United States, 549

U.S. 457, 467 (2007) (defining “original source”).

       In its decision granting the original motions to dismiss, the court identified three central

allegations Plaintiffs-Relators advanced to support their FCA claims and found that none

overcame the public disclosure bar. First, Plaintiffs-Relators alleged there was evidence that

U.S. Cellular controlled Advantage—evidence which was reportedly “shown in detail” in

another case but could not be incorporated by reference into this case. 2022 WL 971290 at *4.


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Second, Plaintiffs-Relators alleged that Advantage’s FCC filings revealed its de facto control by

U.S. Cellular—but all such filings were publicly accessible on the FCC’s docket or U.S.

Cellular’s website and therefore “would have given the Government sufficient notice to

‘adequately investigate the case and make a decision whether to prosecute.’” Id. at *5 (citing

United States ex rel. Davis v. D.C., 679 F.3d 832, 836 (D.C. Cir. 2012)). And third, Plaintiffs-

Relators alleged they had gathered information through “surveillance and private investigation of

Defendants’ offices and employees”—but that information failed to “materially add to the

allegations and transactions already in the public domain.” Id. at *5-6. As a result, Plaintiffs-

Relators did not qualify as an “original source” and the court dismissed their claims but allowed

them the opportunity to file an amended complaint. Id. at *6-7.

                                   II.     LEGAL STANDARD

        A motion to dismiss for failure to state a claim under Federal Rule of Procedure 12(b)(6)

tests the legal sufficiency of a complaint. See Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir.

2002). To survive that motion, the “complaint must contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 67

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible

when the facts alleged allow the court to reasonably infer the defendant’s culpability for the

misconduct alleged. Id. In drawing such reasonable inferences, the court must grant the plaintiff

“the benefit of all inferences that can be derived from the facts alleged.” Sparrow v. United Air

Lines, Inc., 216 F.3d 1111, 1113 (D.C. Cir. 2000) (quoting Schuler v. United States, 61 F.2d 605,

608 (D.C. Cir. 1979)).

                                         III.      ANALYSIS

        The court granted Plaintiffs-Relators leave to amend their allegations to allow them to

attempt to proffer different allegations or transactions from those already in the public domain.


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The Amended Complaint fails to do so. The “core allegation” Plaintiffs-Relators identify in their

Amended Complaint is the same as in their original Complaint, which the court already held did

not overcome the public disclosure bar. They proffer the same FCC filings and other public

information from their original Complaint, and, despite their efforts to elaborate on the nature

and findings of their “significant independent investigation,” they again fail to materially add to

publicly disclosed information and do not qualify as an original source. As a result, the FCA

precludes their claims. 1

A. The Amended Complaint’s core allegations have not changed

          At the outset, it bears emphasis that the Amended Complaint ultimately relies on the

same—and fatally barred—allegations that Plaintiffs-Relators originally raised. In its prior

decision, the court described Plaintiffs-Relators’ central claim thusly: “Advantage was not a

genuine DE that took investment from [U.S. Cellular], and . . . U.S. Cellular control[led]

Advantage directly, as well as indirectly, through its alleged affiliates” to “falsely present[]

claims for payment from” and “avoid making payments to the federal government.” 2022 WL

971290 at *3. According to Plaintiffs-Relators, the Amended Complaint is different because it

clarifies that the “core allegation” is not merely “that U.S. Cellular controlled Advantage and its

licensed spectrum, but that the Defendants established and used Advantage as a vehicle for U.S.

Cellular to fraudulently obtain, use, and retain spectrum licenses.” Plaintiffs/Relators’

Consolidated Response in Opposition to Defendants’ Motions to Dismiss at 14, ECF No. 182

(“Opposition”). But that is the same claim as in the original motion, repackaged: U.S. Cellular



1
    As in their original motions to dismiss, Defendants also argue that Plaintiffs-Relators have
    failed to show an objectively false claim, scienter, or that the allegedly false claims were
    material to the government payments in question. Because the public disclosure bar again
    independently requires dismissal, the court does not reach these arguments.


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defrauded the government by exercising control over Advantage before, during, and after

Advantage obtained spectrum licenses. The core allegation remains unchanged. 2

          Plaintiffs-Relators also contend that the Amended Complaint adds allegations that

Advantage continued to engage in fraudulent compliance certifications after the sale, in addition

to the initial fraud in obtaining the discount. Opposition at 14-15. That contention misses the

mark. In the first place, the original Complaint’s allegations also spoke to Defendants’ post-

auction conduct, suggesting that the fraud was ongoing. See, e.g., Compl. ¶ 76 (referring to U.S.

Cellular’s continued control and financing of Advantage wireless networks); id. ¶ 78 (asserting

that Defendants’ public agreements “effectively provide[] a cover for U.S. Cellular to control the

build out and ownership of the networks that will use the Advantage licenses”). But there is a

more fundamental problem: At best, allegations that Defendants fraudulently maintained

Advantage as a front for U.S. Cellular to keep their discount still only point to “specific instances

of fraud where the general practice”—that Defendants fraudulently created Advantage as a front

for U.S. Cellular to obtain their discount—“has already been exposed.” United States ex rel.

Oliver v. Philip Morris USA Inc., 826 F.3d 466, 472 (D.C. Cir. 2016); (quoting United States ex

rel. Settlemire v. District of Columbia, 198 F.3d 913, 919 (D.C. Cir. 1999)). As the court

previously found, and the next section reiterates, public documents have already exposed the

allegations and transactions underlying Plaintiffs-Relators’ claims.

B. Public FCC filings continue to bar this action

          Advantage’s FCC filings and other publicly available documents continue to bar

Plaintiffs-Relators’ claims. In its prior Opinion, the court observed that all six documents that



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    The specific, supporting allegations Plaintiffs-Relators point to in their Amended Complaint are
    not new, either. Compare Opposition at 14, with Compl. ¶¶ 4, 8-10, 42-45, 47, 52.


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Plaintiffs-Relators cited in support of their allegations were “available on the FCC’s public

docket” or “publicly accessible on U.S. Cellular’s website and . . . submitted for the FCC’s

review.” 2022 WL 971290 at *5. These filings “would have given the Government sufficient

notice to ‘adequately investigate the case and to make a decision whether to prosecute.’” Id.

(quoting Davis, 679 F.3d at 836). That conclusion has not changed.

       The Amended Complaint deleted many of its citations to public filings but has kept most

of the same allegations. See King Street Wireless, Inc., and Allison Cryor DiNardo Motion to

Dismiss at 15-16, ECF No. 178-1 (“KSW MTD”) (comparing the original and amended

complaints). These changes do not avoid the public disclosure bar; the court cannot turn a blind

eye to those filings, even if Plaintiffs-Relators do not cite to them. See United States ex rel. Scott

v. Pac. Architects & Engineers , Inc., No. CV 13-1844 (CKK), 2020 WL 224504 at *6 (D.D.C.

Jan. 15, 2020) (noting that the plaintiffs-relators had “deleted most of their direct references to

[a] State Department audit,” but still considering the audit and determining that it triggered the

bar). The existence of the filings therefore bars Plaintiffs-Relators’ claims in the Amended as

well as the original Complaint.

       Plaintiffs-Relators’ efforts to relitigate that conclusion are unavailing. First, they argue

that because FCC licensing proceedings are decided on the papers, and not by live presentations,

they are not “Federal criminal, civil, or administrative hearing[s]” within the meaning of FCA

public disclosures. Opposition at 15-18 (quoting 31 U.S.C. § 3730(e)(4)(A)(i)). Even if that

argument were not foreclosed by the court’s prior Opinion, see 2022 WL 971290 at *5, it would

run headlong into longstanding D.C. Circuit precedent. “For purposes of [the public disclosure

bar], ‘hearing’ is roughly synonymous with ‘proceeding’”—including “‘paper’ proceedings.”




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United States ex rel. Springfield Terminal Ry. Co. v. Quinn, 14 F.3d 645, 652 (D.C. Cir. 1994).

FCC filings for licensing proceedings therefore qualify as public disclosures.

       Second, Plaintiffs-Relators again dispute the court’s conclusion that the FCC filings

could have “alerted law-enforcement authorities to the likelihood of wrongdoing.” Opposition at

20 (quoting Settlemire, 198 F.3d at 918). They assert that the FCC filings “did not include

information exposing that Advantage was and is a fraudulent DE acting for U.S. Cellular.” Id.

However, they admit the existence of both (1) the FCC filings’ summaries stating that there was

no de facto control, and (2) the Advantage-U.S. Cellular agreements (and their attachments)

upon which Plaintiffs-Relators have relied to show de facto control. See Opposition at 21-22;

see also id. at 14. These are, respectively, the allegedly “misrepresented state of facts (X)” and

“true state of facts (Y)” that together amount to the “allegation of fraud (Z).” 2022 WL 971290

at *4 (citing United States ex rel. Shea v. Cellco P’ship, 863 F.3d 923, 933 (D.C. Cir. 2017)).

Because both sets of documents were publicly filed with the FCC, they triggered the public

disclosure bar.

       Plaintiffs-Relators’ amendments have not altered the landscape. The only new

documents that they purportedly rely upon, in addition to the FCC filings, are alleged “secret”

agreements showing that Advantage’s DE certification and compliance were fraudulent. See

Opposition at 14 (citing Am. Compl. ¶¶ 4, 7, 52-53, 55-58, 60, 70-73, 83, 97, 101, 103-104, 106-

110, 112-117, 135, 137, 141-142)). The Amended Complaint refers mainly to one such

agreement: the 2011 Network Sharing Agreement between King Street Wireless and U.S.

Cellular, which would allow U.S. Cellular to lease portions of King Street Wireless’s spectrum

to use for its own customers. See, e.g., Am. Compl. ¶¶ 70-73. This is the “detail” from the

related case that Plaintiffs-Realtors only incorporated by reference into their original complaint.




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2022 WL 971290 at *4. Plaintiffs-Relators contend that that agreement shows that U.S. Cellular

controlled King Street Wireless, which in turn controlled Advantage—ergo, that U.S. Cellular

controlled Advantage. Even accepting that premise, though, it is not substantially dissimilar

from the allegations arising from the FCC filings themselves. Either way, at bottom lies the

same core allegation: that U.S. Cellular controlled Advantage to fraudulently obtain and retain

the 25% bid discount for DEs. Moreover, other public documents—including statements from

the FCC itself—have already revealed that U.S. Cellular and King Street agreed to share network

around that time. See, e.g., In the Matter of Promoting Interoperability in the 700 Mhz Comm’n.

Spectrum, 27 F.C.C. Rcd. 352 & n.77 (2012) (recognizing that that King Street Wireless had

agreed to allow U.S. Cellular to share its spectrum); see also sources cited at KSW MTD at 18-

19 & n.6. 3 So, to the (questionable) extent that any inference of control can be drawn from the

agreement to share spectrum, that fact is already public and has been for some time. As a result,

Plaintiffs-Relators’ reliance on the 2011 Network Sharing Agreement fails to overcome the

public disclosure bar.

         The Amended Complaint also asserts that there were “other oral or implied agreements

that were necessary to carry out the conspiracy.” Am. Compl. ¶ 141(f). But that assertion

cannot bear the weight Plaintiffs-Relators place on it. In the first place, it is essentially the same

assertion made in the original Complaint—that Defendant had “hidden the true agreements,

understandings, and relationships between King Street and U.S. Cellular.” Compl. ¶ 52.




3
    “A court may take judicial notice of facts contained in public records of other proceedings,”
    Detroit Int’l Bridge Co. v. Gov’t of Canada, 133 F. Supp. 3d 70, 84 (D.D.C. 2015) (citing Abhe
    & Svoboda, Inc. v. Chao, 508 F.3d 1052, 1059 (D.C. Cir. 2007)), along with other
    “government documents available from reliable sources,” id. at 85 (citations omitted).




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Further, the Amended Complaint supplies no allegations to support that assertion beyond

information that is already publicly available. And in any event, Plaintiffs-Relators fail to allege

how any additional secret agreements differ sufficiently from publicly available ones such that

they could support allegations substantially distinct from those that the court has already

identified and found to be barred. See supra Section III.A; 2022 WL 971290 at *4-6.

Consequently, Plaintiffs-Relators’ assertions of additional secret agreements cannot amount to

more than “speculation” based on publicly existing information, and therefore cannot overcome

the public disclosure bar. Shea, 863 F.3d at 934 (quoting Oliver, 826 F.3d at 479).

C. Plaintiffs-Relators still do not qualify as “original sources”

       Because the Amended Complaint is premised on “substantially the same allegations or

transactions” that have already been publicly disclosed, Plaintiffs-Relators’ suit must be

dismissed unless they qualify as an “original source.” Plaintiffs-Relators may so qualify only by

obtaining and sharing “knowledge that is independent of and materially adds to the publicly

disclosed allegations or transactions.” 31 U.S.C. § 3730(e)(4)(B). In its prior Opinion, the court

concluded that Plaintiffs-Relators’ proffered “surveillance and private investigations” failed to

meet that standard. 2022 WL 971290 at *6. For similar reasons, the court reaches the same

conclusion here.

       Plaintiffs-Relators assert that their independent efforts have yielded seven new

allegations supporting their claim:

           (1) in the past six years since the licenses were awarded, Advantage has never
           had a legitimate place of business; employed anyone other than Vail, or
           conducted itself in any way as if it were a business (¶¶ 87-88; 118-122, 133);
           (2) Advantage’s bidding was conducted from King Street’s offices, and under
           the control of U.S. Cellular and DiNardo/King Street27 (¶¶ 89, 92); (3) U.S.
           Cellular hired experts to educate Vail on the mechanics of placing bids (¶ 90);
           (4) one of the two Advantage designated bidders was a King Street employee
           with no known relationship with, or duty to, Advantage and controlled by


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           DiNardo (¶ 91); (5) Advantage and U.S. Cellular entered into and concealed
           their agreement to transfer the licenses to U.S. Cellular (¶ 103); (6) pursuant to
           that undisclosed agreement, Advantage has transferred control of the licenses
           to U.S. Cellular through the purported spectrum manager leases (¶¶ 124-128);
           and (7) the spectrum manager lease for 76 licenses was falsely and fraudulently
           drafted to cover as little spectrum as possible to avoid the unjust enrichment
           payment, notwithstanding that U.S. Cellular already controlled the licenses. (¶
           126).

Opposition at 34 (internal citations are to paragraphs in the Amended Complaint). Ultimately,

however, these allegations do not individually or collectively amount to a material addition to the

publicly disclosed information and allegations.

       The court has already considered and rejected the first, second, and fourth allegations. In

its prior Opinion, it specifically acknowledged the allegations that Advantage was not using its

offices, that Advantage conducted its bidding from King Street Wireless’s offices, and that one

of Advantage’s designated bidders was a King Street Wireless employee. 2022 WL 971290 at

*6. It is also no surprise that Advantage was not acting “as if it were a business”: Advantage’s

own DE annual reports, which Plaintiffs-Relators attached to their Amended Complaint, state

that Advantage had no customers and had not constructed any equipment. Am. Compl., Exs. 10-

14, ECF Nos. 174-10-14. Once again, these allegations do “not significantly expand the court’s

understanding of the essential factual background of this case” or provide “information that

might have otherwise influenced the Government, as shown by the fact that the Government

elected not to intervene in this case.” 2022 WL 971290 at *6.

       The other allegations fare no better. The third, that U.S. Cellular hired experts to educate

Advantage on how to bid, is merely a collateral detail to the already public fact that U.S. Cellular

and King Street Wireless would “assist [Advantage] in the conduct [sic] the bidding activities.”

2022 WL 971290 at *5 (citing the Advantage partnership agreement filed with the FCC). The

fifth allegation refers to the existence of “secret” agreements which, as the court has already


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explained, is no more than speculation based on public documents. Supra Section III.B. As for

the sixth and seventh allegations, Advantage and U.S. Cellular specifically disclosed to the FCC

the formation and nature of the spectrum manager leases upon which Plaintiff-Relators rely. See

Am. Compl., Ex. 15, ECF No. 174-15 (“notify[ing] the Commission of a Long-Term Spectrum

Manager Lease Agreement”). Ultimately, then, the Amended Complaint does not meaningfully

support any of these allegations with non-public, independent knowledge uncovered by

Plaintiffs-Relators’ investigations. They therefore cannot qualify Plaintiffs-Relators for original-

source status. 4

                                      IV.     CONCLUSION

         For the foregoing reasons, Defendants’ motions to dismiss (ECF Nos. 178, 179, & 180)

will be GRANTED. This time, Plaintiffs-Relators’ claims will be dismissed with prejudice. A

corresponding order will accompany this Memorandum Opinion.



Date: March 9, 2023

                                                  Tanya S. Chutkan
                                                  TANYA S. CHUTKAN
                                                  United States District Judge




4
    Defendants again argue that a 2008 qui tam action brought by Plaintiff-Relator O’Connor’s law
    firm is another public disclosure that would invoke the public disclosure bar. See Lampert &
    O’Connor, P.C. v. Carroll Wireless, L.P., 07-cv-0800 (D.D.C. May 2, 2010). Because the
    court has found that bar already applies based on the public FCC filings, the court need not
    address this argument.


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